Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 1 of 24




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

  VICTOR ARIZA,

         Plaintiff,

  vs.

  BROWARD DESIGN CENTER, INC.,
  a Florida for-profit corporation,

        Defendant.
  ________________________________/

                                            COMPLAINT

         Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant BROWARD

  DESIGN CENTER, INC., a Florida for-profit corporation, and alleges as follows:

         1.      This is an action for declaratory and injunctive, attorney’s fees, costs, and litigation

  expenses for unlawful disability discrimination in violation of Title III of the Americans with

  Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36. This

  further is an action for declaratory and injunctive relief, damages, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Section 504 of the

  Rehabilitation Act of 1973, 29 U.S.C. §794, et seq. (“Rehab Act”).

        2.       This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and

  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 2 of 24




         4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

  and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”). Plaintiff also is expressly authorized to bring this case under the Rehab Act, 29

  U.S.C. §§794(a)(2) and 794(b)(3)(A), and under Section 505-f the Rehab Act, which enforces

  Section 504 of the Rehab Act, 29 U.S.C. §§794 and 794a, incorporating the rights and remedies

  set forth in Titl VI of the Civil Rights Act of 1964, 42 U.S.C. §2000d, et seq.

         5.      Plaintiff is and at all relevant times has been blind and visually disabled in that he

  suffers from optical nerve atrophy, a permanent eye disease and medical condition that

  substantially and significantly impairs his vision and limits his ability to see. Plaintiff thus is

  substantially limited in performing one or more major life activities, including, but not limited to,

  seeing, accurately visualizing his world, and adequately traversing obstacles. As such, he is a

  member of a protected class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations

  implementing the ADA set forth at 28 CFR §§36.101, et seq., and 42 U.S.C. §3602(h). Plaintiff

  is also an otherwise qualified individual with a disability who has been denied the benefits of a

  program or activity receiving federal financial assistance and is covered by the Rehab Act, 29

  U.S.C. §794(a). Plaintiff further is an advocate of the rights of similarly situated disabled persons

  and is a “tester” for the purposes of asserting his civil rights and monitoring, ensuring, and

  determining whether places of public accommodation and/or the recipients of federal financial

  assistance and/or their respective and associated websites are in compliance with the ADA, the

  Rehab Act, and any other applicable disability laws, regulations, and ordinances.

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available screen reader software. Screen reader software translates

  the visual internet into an auditory equivalent. At a rapid pace, the software reads the content of a



                                                   2
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 3 of 24




  webpage to the user. “The screen reading software uses auditory cues to allow a visually impaired

  user to effectively use websites. For example, when using the visual internet, a seeing user learns

  that a link may be ‘clicked,’ which will bring her to another webpage, through visual cues, such

  as a change in the color of the text (often text is turned from black to blue). When the sighted user's

  cursor hovers over the link, it changes from an arrow symbol to a hand. The screen reading

  software uses auditory—rather than visual—cues to relay this same information. When a sight

  impaired individual reaches a link that may be ‘clicked on,’ the software reads the link to the user,

  and after reading the text of the link says the word ‘clickable.’…Through a series of auditory cues

  read aloud by the screen reader, the visually impaired user can navigate a website by listening and

  responding with her keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL

  6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a Florida for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns, operates, and/or controls a retail furniture and

  home décor store, which Plaintiff intended to patronize in the near future located at 795 E. Sunrise

  Boulevard, Ft Lauderdale, Florida. Defendant also owns, leases, leases to, and/or operates a

  business that is the recipient of federal financial assistance as a whole within the meaning of Rehab

  Act, 29 U.S.C. §794(b)(3)(A)(i). See attached Exhibit “A”.

         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet. Because he is significantly and

  permanently blind and visually disabled, in order to effectively communicate and comprehend




                                                    3
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 4 of 24




  information available on the internet and thereby access and comprehend websites, Plaintiff uses

  commercially available screen reader software to interface with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a retail furniture and home décor store under the name “Broward Design

  Center.” The Broward Deisgn Center store is open to the public. As the owner, operator, and/or

  controller of this retail store, Defendant is defined as a place of “public accommodation" within

  meaning of the ADA because Defendant is a private entity which owns and/or operates “a bakery,

  grocery store, clothing store, hardware store, shopping center, or other sales or rental

  establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a store open to the public, it is a place of public

  accommodation subject to the requirements of the ADA, 42 U.S.C. §12182, §12181(7)(E), and its

  implementing regulations, 28 C.F.R. Part 36.

         12.     Defendant also owns, controls, maintains, and/or operates an adjunct website,

  https://www.thebrowarddesigncenter.com (the “Website”). One of the functions of the Website is

  to provide the public information on the location of Defendant’s store that sells its merchandise.

  Defendant also sells to the public its merchandise through the Website, which acts as a critical

  point of sale for the sale of Defendant’s merchandise in, from, and through its physical store.

         13.     The Website also services Defendant’s physical store by providing information on

  the store’s location, available merchandise, tips and advice, editorials, sales campaigns, events,

  and other information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical store, purchase merchandise that also available for purchase in

  and from the physical store, apply for credit to purchase merchandise online and in the physical



                                                   4
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 5 of 24




  store, arrange in-store pickups and curbside delivery of merchandise purchased online, and sign

  up for an emailer to receive exclusive online offers, benefits, invitations, and discounts for use

  online and in the physical store, the Website is an extension of, and gateway to, the goods, services,

  privileges, and advantages of Defendant’s physical store. As a service, privilege, and advantage

  provided by a place of public accommodation as defined under the ADA, the Website is an

  extension of the goods, services, privileges, and advantages made available to the general public

  by Defendant at and through its brick-and-mortar location and business. Furthermore, the Website

  is a necessary service and privilege of Defendant’s physical store in that, as a point of sale for the

  store, it enables users of the Website to make online purchases of Defendant’s merchandise that is

  available in and from its physical store.

         15.     Because the public can view and purchase Defendant’s merchandise on the Website

  that is also offered for sale in and from Defendant’s physical store, thus having the Website act as

  a point of sale for Defendant’s merchandise sold in and from the physical store, apply for credit to

  purchase merchandise online and in the physical store, arrange in-store pickups and curbside

  delivery of merchandise purchased online, and sign up for an emailer to receive exclusive online

  offers, benefits, invitations, and discounts for use online and in the physical store, the Website is

  a necessary extension of, gateway to, and service, privilege, and advantage of the physical store,

  which is a place of public accommodation under the ADA, 42 U.S.C. §12181(7)(E). As such, the

  Website is a necessary service, privilege, and advantage of Defendant’s brick-and-mortar store

  that must comply with all requirements of the ADA, must not discriminate against individuals with

  visual disabilities, and must not deny those individuals the same full and equal access to and

  enjoyment of the goods, services, privileges, and advantages afforded the non-visually disabled

  public both online and in the physical store.



                                                    5
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 6 of 24




         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the

  internet and is connected to Defendant’s physical store as a point of sale for the purchase of

  merchandise from Defendant’s physical stores, the Website is a necessary service, privilege, and

  advantage of Defendant’s brick-and-mortar store that must comply with all requirements of the

  ADA, must not discriminate against individuals with visual disabilities, and must not deny those

  individuals the full and equal access to and enjoyment of the goods, services, privileges, and

  advantages afforded the non-visually disabled public both online and in the physical store. As

  such, Defendant has subjected itself and the Website to the requirements of the ADA. In addition,

  as a recipient of federal financial assistance to the company as a whole, Defendant has subjected

  itself and all of its operations, programs, and activities, including its Website, to the requirements,

  prohibitions, and anti-discrimination provisions of the Rehab Act.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical store, and to check store hours and merchandise pricing, purchase

  merchandise, arrange in-store and curbside pickups of merchandise purhdaed online, apply online

  for credit, and sign up for an emailer to receive exclusive offers, benefits, invitations, and discounts

  for use at the Website or in Defendant’s physical store. In the alternative, Plaintiff intends to

  monitor the Website in the near future as a tester to ascertain whether it has been updated to interact

  properly with screen reader software.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise offered for sale in

  the physical store, apply for credit, arrange in-store and curbsiede pickups and store deliveries of

  merchandise purchased online, eand sign up for an emailer to receive exclusive offers, benefits,



                                                     6
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 7 of 24




  exclusive invitations, and discounts for use online and in the physical store from his home are

  important accommodations for Plaintiff because traveling outside of his home as a physically and

  visually disabled individual is often a difficult, hazardous, frightening, frustrating and confusing

  experience. Defendant has not provided its business information in any alternative digital format

  that is accessible for use by blind and visually disabled individuals using screen reader software

  while using the internet.

         19.     Like many consumers, Plaintiff accesses numerous websites at a time to plan store

  visits and to compare merchandise, prices, services, sales, discounts, and promotions. Plaintiff may

  look at several dozens of sites to compare features, discounts, promotions, and prices.

         20.     Beginning in May 2022, Plaintiff attempted on a number of occasions to utilize the

  Website to browse through the merchandise and online offers to educate himself as to the

  merchandise, sales, discounts, and promotions being offered, and with the intent to make a

  purchase through the Website or at Defendant’s store. Plaintiff also attempted to access and utilize

  the Website in his capacity as a tester to determine whether it was accessible to blind and visually

  disabled persons such as himself who use screen reader software to access and navigate company

  websites.

         21.     Plaintiff utilizes screen reader software that allows individuals who are blind and

  visually disabled to communicate with websites. However, Defendant’s Website contains access

  barriers that prevent free and full use by blind and visually disabled individuals using keyboards

  and available screen reader software. These barriers are pervasive and include, but are not limited

  to:

                 a. At the header and footer of the Website, the social media buttons are
                    mislabeled as “link”;

                 b. The submenus are inaccessible when navigating with a keyboard;


                                                   7
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 8 of 24




                 c. The grid view buttons are mislabeled as “button”;

                 d. Product images are mislabeled as “link”; and

                 e. Pricing is mislabeled in the shopping cart.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow blind and visually disabled individuals who use screen reader software to locate and

  accurately fill out online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

  on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded as he is unable to participate in the same online and in-store shopping experience,

  with the same access to the merchandise, sales, discounts, and promotions, as provided at the

  Website and in the physical store as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical store and to use the Website as an

  extension, service, privilege, and advantage of the physical store, but he is presently unable to fully

  do so as he is unable to effectively communicate with Defendant’s physical store due to his

  blindness and the Website’s access barriers. Alternatively, as a tester using scree reader software,

  Plaintiff is unable to effectively access, navigate, and communicate with Defendants through the

  Website due to his blindness and the Website’s access barriers. Thus, Plaintiff, and others who

  are blind and visually disabled, will suffer continuous and ongoing harm from Defendant’s


                                                    8
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 9 of 24




  intentional acts, omissions, policies, and practices as set forth herein unless properly enjoined by

  this Court.

          26.     Because the Website clearly provides support for and is connected to Defendant’s

  retail store for its goods, services, operation, and use, and is a necessary service, privilege,

  advantage, and accommodation of Defendant’s brick-and-mortar store for the purchase of

  Defendant’s merchandise, the Website must comply with all requirements of the ADA, must not

  discriminate against individuals with disabilities, and must not deny those individuals the same

  full and equal access to and enjoyment of the goods, services, privileges, and advantages afforded

  the non-visually disabled public both online and in the physical store, which is a place of public

  accommodation subject to the requirements of the ADA.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.



                                                   9
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 10 of 24




          33.     On information and belief, Defendant has not instituted an Automated Web

   Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

   service or email contact mode for customer assistance for the blind and visually disabled.

          35.     Defendant has not created and instituted on the Website a page for individuals with

   disabilities, nor displayed a link and information hotline, nor created an information portal

   explaining when and how Defendant will have the Website, applications, and digital assets

   accessible to the visually disabled and blind communities.

          36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

   2.0 Level AA or higher versions of web accessibility.

          37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to visually disabled individuals who want the safety

   and privacy of purchasing Defendant’s merchandise offered on the Website and in the physical

   store from their homes.

          38.     Thus, Defendant has not provided full and equal access to and enjoyment of the

   goods, services, facilities, privileges, advantages, accommodations, programs and activities

   provided by and through the Website and the physical store in contravention of the ADA and the

   Rehab Act.

          39.     Further, public accommodations under the ADA must ensure that their places of

   public accommodation provide effective communication for all members of the general public,

   including individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act,

   public accommodations and companies that receive federal financial assistance must not




                                                  10
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 11 of 24




   discriminate against disabled persons and are required to make the facilities, programs, or activites

   they operate fully and readily accessible to persons with disabilities.

          40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet shopping websites such as the Website. In addition, Congress

   enacted the Rehab Act to enforce the policy of the United States that all programs, projects and

   activities receiving federal assistance " ... be carried out in a manner consistent with the principles

   of ... inclusion, integration and full participation of the individuals [with disabilities]." 29 U.S.C.

   §701(c)(3).

          41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website which prevent individuals with visual disabilities from the

   means to comprehend information presented therein.

          42.     Defendant is, and at all relevant times has been, aware of the need to provide full

   access to all visitors to the Website.

          43.      The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities such as Plaintiff.

          44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with its website access and operation.

          45.     Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.




                                                     11
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 12 of 24




          46.     Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

   pursuant to 28 U.S.C. §§2201 and 2202.

          47.     Plaintiff has retained the undersigned attorneys to represent him in this case, and

   has agreed to pay them a reasonable fee for their services.

                               COUNT I – VIOLATION OF THE ADA

          48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          49.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

   the ADA and thus is covered under the ADA.

          50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s

   physical store, acts as a point of sale for Defendant’s physical store by allowing users to purchase

   merchandise that is also available for purchase in and from the physical store, allows users to apply

   for credit online to make purchases of Defendant’s merchandise available in the phsycical stores,

   allws users to arrange in-store pickups and curbside delivery of merchandise purchased online,

   and allows users to sign up for an emailer to receive exclusive online offers, benefits, invitations,

   and discounts for use both online and in the physical store. The Website thus is an extension of,

   gateway to, and necessary service, privilege, and advantage of Defendant’s physical store. Further,

   the Website also serves to augment Defendant’s physical store by providing the public information

   about the store and by educating the public as to Defendant’s available products sold through the

   Website and in the physical store. The Website thus is necessary for Plaintiff to fully enjoy and

   have access to all of the goods, services, privileges, and advantages being offered by Defendant

   both online and in its physical store.




                                                    12
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 13 of 24




          51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          53.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          54.     Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

          55.     Because of the inaccessibility of the Website, individuals with visual disabilities

   are denied full and equal access to, and enjoyment of, the gods, information, and services that

   Defendant has made available to the public on the Website and in the physical store in violation

   of 42 U.S.C. §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.



                                                    13
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 14 of 24




           56.     The Website was subsequently visited by Plaintiff’s expert in June 2022, and the

   expert determination was that the same access barriers that Plaintiff had initially encountered, as

   well as numerous additional access barriers, existed. Defendant thus has made insufficient

   material changes or improvements to the Website to enable its full use, enjoyment, and

   accessibility for visually disabled persons such as Plaintiff. Defendant also has not disclosed to

   the public any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to

   visually disabled individuals, nor has it posted on the Website a conspicuous and effective

   “accessibility” notice, statement, or policy to provide blind and visually disabled persons such as

   Plaintiff with a viable alternative means to access and navigate the Website. Defendant thus has

   failed to make reasonable modifications in its policies, practices, or procedures when such

   modifications are necessary to afford goods, services, facilities, privileges, advantages, or

   accommodations to individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a

   viable and effective “accessibility” notice, policy, or statement and the numerous access barriers

   as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite

   Exhibit “B” and the contents of which are incorporated herein by reference, continue to render the

   Website not fully accessible to users who are blind and visually disabled, including Plaintiff.

           57.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

           58.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.

           59.     There are readily available, well-established guidelines on the internet for making

   websites accessible to the blind and visually disabled. These guidelines have been followed by



                                                    14
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 15 of 24




   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.

          60.     Defendant has violated the ADA – and continues to violate the ADA – by denying

   access to the Website, and hjence its connected physical store, by individuals such as Plaintiff with

   visual disabilities who require the assistance of interface with screen reader software to

   comprehend and access internet websites. These violations within the Website are ongoing.

          61.     The ADA requires that public accommodations and places of public

   accommodation ensure that communication is effective.

          62.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”.                 Indeed, 28 C.F.R.

   §36.303(b)(2) specifically states that screen reader software is an effective method of making

   visually delivered material available to individuals who are blind or have low vision.

          63.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by




                                                    15
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 16 of 24




   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          65.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication and

   thus violates the ADA.

          66.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website that is an extension, service, privilege, and advantage of, and point of sale for,

   Defendant’s brick-and-mortar store, Plaintiff has suffered an injury in fact by being denied full

   access to and enjoyment of Defendant’s physical store.

          67.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.

          68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief; including an order to:

          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a functional statement as to the

   Defendant’s policy to ensure persons with visual disabilities have full and equal access to and

   enjoyment of the goods, services, facilities, privileges, advantages, and accommodations offered

   in Defendant’s physical stores through the Website and the physical store.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the

   Website’s being made readily accessible, provide an alternative method for individuals with visual




                                                    16
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 17 of 24




   disabilities to access the information available on the Website until such time that the requisite

   modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical store and becoming informed of and purchasing

   Defendant’s merchandise online, and during that time period prior to the Website’s being designed

   to permit individuals with visual disabilities to effectively communicate, to provide an alternative

   method for individuals with visual disabilities to effectively communicate for such goods and

   services made available to the general public through the Website and the physical store.

          69.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Website is in violation of the ADA;

          B. An Order requiring Defendant, by a date certain, to update the Website, and continue

                to monitor and update the Website on an ongoing basis, to remove barriers in order that

                individuals with visual disabilities can access, and continue to access, the Website and

                effectively communicate with the Website to the full extent required by Title III of the

                ADA;




                                                    17
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 18 of 24




        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo 1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform




   1
                    or similar.

                                                18
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 19 of 24




                   all web content and services with ADA accessibility requirements and applicable

                   accessibility guidelines;

             I. An Order directing Defendant, by a date certain and at least once every three months

                   thereafter, to conduct automated accessibility tests of the Website to identify any

                   instances where the Website is no longer in conformance with the accessibility

                   requirements of the ADA and any applicable accessibility guidelines, and further

                   directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

                   counsel for review;

             J. An Order directing Defendant, by a date certain, to make publicly available and directly

                   link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                   ensure the persons with disabilities have full and equal enjoyment of the Website and

                   shall accompany the public policy statement with an accessible means of submitting

                   accessibility questions and problems;

             K. An award to Plaintiff of his reasonable attorney’s fees, costs, and expenses; and

             L. Such other and further relief as the Court deems just and equitable.

                      COUNT II – VIOLATION OF THE REHABILITATION ACT

             70.      Plaintiff re-alleges paragraphs 1 through 47 and 56 through 59 as if set forth fully

   herein.

             71.      As more specifically set forth above, Defendant has violated the Rehab Act by

   failing to interface the Website with software utilized by visually impaired individuals. Thus,

   Defendant has violated the Rehab Act either directly or through contractual, licensing or other

   arrangements with respect to Plaintiff and other similarly situated individuals solely by reason of

   their disability, based on the following:



                                                       19
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 20 of 24




           a)      By excluding Plaintiff from participation in and denying him the benefits of or

   subjecting him to discrimination under any program or activity receiving federal financial

   assistance as a whole, Defendant has violated the Rehab Act;

           b)      Congress enacted the Rehab Act to enforce the policy of the United States that all

   programs, projects, and activities receiving federal assistance " ... be carried out in a manner

   consistent with the principles of ... inclusion, integration and full participation of the individuals

   [with disabilities]." 29 U.S.C. Section 701 (c)(3);

           c)      Defendant is a recipient of federal financial assistance as a whole bringing it under

   the Rehab Act which prohibits discrimination against qualified or otherwise qualified individuals

   in all of the recipient's "programs or activities";

           d)      Section 504 of the Rehab Act prohibits recipients of federal funding from

   discriminating against disabled persons and requires that facilities, programs, or activities operated

   by a federally funded entity be readily accessible to persons with disabilities;

           e)      The Rehab Act defines "program or activity" as all of the operations of the entire

   corporation, partnership, or other private organization, or sole proprietorship which receives

   federal financial assistance as a whole. Defendant's Website and its content is a "program or

   activity" within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A)(i);

           f)      Plaintiff was denied access to Defendant's Website solely by reason of his

   disability. This denial of access to Defendant's "program or activity" subjected Plaintiff to

   discrimination, excluded Plaintiff from participation in the program or activity, and denied

   Plaintiff the benefits of the Website, a service available to those persons who are not blind. As of

   this filing, the Website remains inaccessible to qualified or otherwise qualified persons;




                                                         20
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 21 of 24




          g)      The international website standards organization, WC3, has published widely-

   accepted guidelines ("WCAG 2.0 and WCAG 2.1 AA") for making digital content accessible to

   individuals with disabilities. These guidelines have been endorsed the United States Department

   of Justice and by Federal Courts and the United States Access Board; and,

          h)      Defendant has engaged in unlawful practices in violation of the Rehab Act since it

   launched the Website. These practices include, but are not limited to, denying Plaintiff, an

   individual with a disability who, with or without reasonable modifications to the rules, policies, or

   practices, the removal of communication barriers, or the provision of auxiliary aids and services,

   meets the essential eligibility requirements for the receipt of services to participate in programs or

   activities provided by Defendant.

          72.     Defendant has acted with deliberate indifference to the applicable provisions of the

   Rehab Act as to the unlawful practices described herein because Defendant was and is fully aware

   of the inaccessible features of its Website and has failed to remediate the Website to make it

   equally accessible to persons with visual disabilities. Defendant knew that harm to a federally

   protected right was substantially likely, yet and it failed to act on that likelihood when it failed to

   remediate its Website. Defendant knew this, and on information and belief, a person with authority

   with Defendant to order the remediation of the Website made a deliberate choice not to remediate

   and to continue to offer the inaccessible Website to its customers and potential customers knowing

   that the Website was, and continues to be, inaccessible to the blind and visually disabled.

          73.     Plaintiff would like to be a customer at Defendant's brick-and-mortar store but

   before he goes to the store he would like to determine what is available for his purchasing, what

   promotions are being offered, and what new items are currently available. In that regard, Plaintiff




                                                     21
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 22 of 24




   continues to attempt to utilize the Website and/or plans to continue to attempt to utilize the Website

   on a regular basis to make selections for purchasing online or in the store.

          74.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

   that it would be a futile gesture to attempt to utilize the Website as long as those violations exist

   unless he is willing to suffer additional discrimination.

          75.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

   result of the discriminatory conditions present at Defendant's Website. By continuing to operate

   the Website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation

   and segregation and deprives Plaintiff the full and equal enjoyment of the benefits of -Defendant's

   programs and activities available to the general public. By encountering the discriminatory

   conditions at the Website and knowing that it would be a futile gesture to attempt to utilize the

   Website unless he is willing to endure additional discrimination, Plaintiff is deprived of the

   meaningful choice of freely visiting and utilizing the same stores or the Website readily available

   to the general public and is deterred and discouraged from doing so. By maintaining a website

   with access and Rehab Act violations, Defendant deprives Plaintiff the equal access to, and same

   participation in and benefits of, its programs and activities as the non-visually disabled public.

          76.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

   of Defendant's discrimination until the Defendant is compelled to comply with the requirements

   of the Rehab Act.

          77.     Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

   from the Defendant's non-compliance with the Rehab Act with respect to this Website as described

   above. Plaintiff has reasonable grounds to believe that he will continue to be subjected to

   discrimination in violation of the Rehab Act by the Defendant. Plaintiff desires to access the



                                                     22
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 23 of 24




   Website to avail himself of the benefits, therein, and/or to assure himself that this Website is in

   compliance with the Rehab Act so that he and others similarly situated will have full and equal

   enjoyment of the Website without fear of discrimination.

           78.     The Plaintiff and all others similarly situated will continue to suffer such

   discrimination, injury, and damage without the immediate relief provided by the Rehab Act as

   requested herein.

           79.     Plaintiff is without adequate remedy at law and is suffering irreparable harm based

   on the facts alleged hereinabove.

           80.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

   fees, costs, and litigation expenses from the Defendant pursuant to the Rehab Act, 29 U.S.C. §

   794a.

           WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

           A.      A declaration that determines that Defendant's Website at the commencement of

   the subject lawsuit is in violation of the Rehabilitation Act;

           B.      A declaration that Defendant's Website continues to be in violation of the

   Rehabilitation Act;

           C.      A declaration that Defendant has violated the Rehabilitation Act by failing to

   monitor and maintain its Website to ensure that it is readily accessible to and usable by persons

   with visual disabilities;

           D.      Issuance of an Order directing Defendant to alter its Website to make it accessible

   to, and useable by, individuals with visual disabilities to the full extent required by the

   Rehabilitation Act;



                                                    23
Case 0:22-cv-61475-WPD Document 1 Entered on FLSD Docket 08/09/2022 Page 24 of 24




          E.      Issuance of an Order directing Defendant to evaluate and neutralize its policies and

   procedures towards persons with disabilities for such reasonable time so as to allow Defendant to

   undertake and complete corrective and remedial procedures;

          F.      Issuance of an Order directing Defendant to continually update and maintain its

   Website to ensure that it remains fully accessible to and usable by visually disabled individuals;

          G.      An award to Plaintiff of his compensatory damages for Defendant’s willful and

   deliberately indifferent violations of the Rehab Act;

          H.      Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to 29

   U.S.C. §794a; and

          I.      Award such other relief as the Court deems just and proper, and/or is allowable

   under the Rehabilitation Act.

          DATED: August 9, 2022.


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                                                   24
